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_____________________________________________________________________________________________
                                    NEWPORT BEACH OFFICE




           EXHIBIT 72
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                                     Exhibit 72

Between March 8, 2020, and March 21, 2020, external account
m.prager@opendrives.com:

      Viewed four files:
           Fuzz Budget
           Sylabs Spin-in Terms
           Email cover to Joel
           Disrupt the Status Quo - HPC Taken to the Next Level

      Changed the permissions from “None” to “Can view, Can comment” on three files:
           Fuzz Budget
           Terms
           Email cover to Joel

      Changed the permissions from “None” to “Can edit” on one file:
           HPC is at the heart of Sylabs

      Edited one file:
             Disrupt the Status Quo - HPC Taken to the Next Level




                                          1
